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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


ESPINOZA ESCALONA, et al.,

Plaintiffs–Petitioners,
                                                                  Case No: 1:25-cv-00604
                             v.

NOEM, Secretary of the U.S. Department of Homeland
Security, in her official capacity, et al.,

Defendants–Respondents.



                                   [PROPOSED] STAY ORDER

        Upon consideration of the Plaintiffs-Petitioners’ (“Plaintiffs”) Emergency Motion to Stay

Transfer of Plaintiffs to Guantánamo, and any opposition, reply, and further pleadings and

argument thereto;

        Having determined that Plaintiffs are likely to succeed on the merits of their claims under

the Immigration and Nationality Act, the Administrative Procedure Act, and the Fifth Amendment,

that Plaintiffs will suffer irreparable injury in the absence of a stay, and that the balance of

hardships and public interest favor relief, it is therefore,

        ORDERED that Plaintiffs’ Emergency Motion to Stay Transfer to Guantánamo is hereby

GRANTED; and that Defendants-Respondents, their agents, representatives, and all persons or

entities acting in concert with them are hereby:

        ORDERED, pending further order of this Court, to refrain from transferring Plaintiffs-

        Petitioners to Guantánamo.
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Entered on ______, 2025 at ____A.M./P.M.

                                                      ___________________________
                                                      United States District Court Judge
